Case 8:13-cv-01872-SDM-TBM Document 69 Filed 08/03/15 Page 1 of 1 PageID 455




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


   ANA M. CARDOSO,

         Plaintiff,

   v.                                                 CASE NO. 8:13-cv-1872-T-23TBM

   THE LAW OFFICES OF OMAR F.
   MEDINA, PROFESSIONAL
   ASSOCIATION, et al.,

         Defendants.
   ____________________________________/


                                          ORDER

         The plaintiff sues (Doc. 1) under the Fair Labor Standards Act. The parties

   move (Doc. 68) for approval of a settlement agreement. See generally Lynn’s Food

   Stores, Inc. v. United States, 679 F.2d 1350 (11th Cir. 1982). The agreement

   (Doc. 68-1) is “fair and reasonable,” and the parties negotiated attorney’s fees

   separately from the plaintiff’s recovery. The motion (Doc. 68) is GRANTED. The

   settlement agreement (Doc. 68-1) is APPROVED, and this action is DISMISSED

   WITH PREJUDICE.

         ORDERED in Tampa, Florida, on August 3, 2015.
